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MASTER AGREEMENT FOR LOGISTICS SERVICES

Master Agreement for Logistics Services (hereinafter “Agreement”), effective as of May
16, 2018 (hereinafter “Effective Date”), is made by and between Cintas Corporation, whose
address is 6800 Cintas Blvd., Mason, OH 45040 (hereinafter “Customer”) and Schneider
Logistics, Inc. (hereinafter “SLI”), whose address is 3101 S. Packerland Drive, Green Bay,
Wisconsin 54313.

WHEREAS, in the normal course of Customer’s business, Customer ships}.receives
and/or stores various raw materials, supplies, parts, and finished goods (hereinafter “Freight”);
and,

WHEREAS, SLI is in the business of providing a full range of transportation, distribution
and logistics services; and,

WHEREAS, Customer desires to use SLI’s logistics services as described in Appendix A,
Logistics Services, attached hereto; and,

WHEREAS, Customer and SLI acknowledge that this Agreement may not contemplate
every future event, situation or contingency, and that this’ Agreement may need to be modified in
the future as set forth in this Agreement;

NOW THEREFORE, in consideration of the above recitals and the following covenants,
the parties hereto agree as follows:

1. Definitions. Definitions are provided herein for the purpose of convenience and clarity of
this Agreement.

1.1 Services: “Services” shall be defined as the collective portfolio of services
provided by SLI as further described in Appendix A, Logistics Services. In the event of a
conflict between this Agreement and an Appendix, the Appendix shall control to the extent of the
conflict.

1.2 Affiliate. Each firm, corporation, partnership, association, trust or other entity in
which a person has a majority ownership interest or directly or indirectly controls, is controlled
by, or is under common control with such person, and their permitted successors and assigns. In
the previous sentence, to “control” (and its variations) an entity shall mean owning and having
the right to direct voting of more than fifty percent (50%) of the voting securities or other equity
interest of such entity.

 

1.3. Schneider Technology. “Schneider Technology” shall be defined as all patentable
and unpatentable inventions, software, improvements, variations, discoveries, results, findings,
works, materials, work product, computer software or programs (including object and source
code), data, methods, plans, models, films, scripts, concepts, ideas, processes, formulas,
technology, techniques, know-how, designs, prototypes, specifications, information, including

PLAINTIFF’S
EXHIBIT

SCHNEIDER CONFIDENTIAL 000093

 
